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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  JENNIFER LE FEUVRE,

           Plaintiff,                                      Case No.: 1:24-cv-09636

   v.                                                      Judge Lindsay C. Jenkins

   THE PARTNERSHIPS AND                                    Magistrate Judge M. David Weisman
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                  DEFENDANT
                 11                                   Duanpeng.W
                  3                                    Zhongxi.W
                  5                                       Shigui
                 10                                      Yinwan
                 68                                   Chengcai Wu
                 74                                Shixiangbaihuohang
                 78                                       XSTH
                173                                     chenqivb
                175                                  pengnanjiancai
                118                                   ZKLi Fashion
                134                                     Ynmk Jun
                 59                                    PTCL shoes
                202                                     Yageerya
                  8                                       Potton
                 72                            DUEIG(7-15 Days Delivery)
                 96                                     Miwasion
                 97                                      Deokke
                104                                      BHAHB
                 80                          Sdggsgv Womens Fashion Up 70%
                165                                      Walbest
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             65                                    GLOA
            120                                    HHeiK
            121                                  BallsFHK
            124                                  Royallove
             18                                  UQRZAU
             26                 Lightning Deals Of Today Prime✨QUFECH
             35                     Tantisy ⭐Easter Day Big Promotion
             45                                 NIAIOCTI
             71                                  Kansopa
             22                                  VJIOJAP
             20                                   ink2055
             67                                 Honrane-US
             70                                 Yaoyodd19


DATED: November 27, 2024                   Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
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                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 27, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
